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                             Review and E-Sign Agreement to Arbitrate




THIS AGREEMENT TO ARBITRATE (“Agreement”) is entered into between Chipotle and the
undersigned employee (“Employee”). “Chipotle” means Chipotle Mexican Grill, Inc., a Delaware
corporation, and its direct and indirect subsidiaries and affiliates.



1. Arbitration Overview. In arbitration, each side in the dispute presents its case, including
evidence, to a neutral third party called an “arbitrator,” rather than to a judge or jury. The arbitrator
generally is either an attorney or a retired judge. The parties are entitled to be represented by their
own legal counsel in the arbitration proceeding. After reviewing the evidence and considering the
arguments of the parties, the arbitrator makes a final decision to resolve the dispute.



2. Duty to Arbitrate. In consideration of Chipotle’s offer of employment to Employee and the at will
employment relationship between Chipotle and Employee, Chipotle and Employee hereby agree
that any and all Claims (defined below in Section 4) shall be resolved by final and binding arbitration
in accordance with this Agreement.



3. Arbitration Rules. By signing this Agreement, the parties agree that any arbitration shall be
conducted before one neutral arbitrator selected mutually by the parties and shall be conducted
under the Employment Arbitration Rules and Procedures of JAMS (“JAMS Rules”), which you can
access from this link. This Agreement shall be enforceable under and subject to the Federal
Arbitration Act, 9 U.S.C. Sec. 1, et seq., and all rules, regulations, and judicial opinions enforcing or
interpreting the same, as any of the same may be amended from time to time.



4. Claims Subject to Arbitration. As used in this Agreement, “Claims” means any and all disputes,
claims, and controversies arising out of or relating to this Agreement, the parties’ employment
relationship, or the formation, existence, or termination of the parties’ employment relationship,
including but not limited to all claims for: wrongful termination; breach of any contract or covenant,
oral or written, express or implied; breach of any duty owed to Employee by Chipotle or to Chipotle
by Employee; personal, physical or emotional injury; fraud, misrepresentation, defamation, and any
other tort claims; wages or other compensation due; penalties; benefits; reimbursement of
expenses; discrimination or harassment, including but not limited to discrimination or harassment
based on race, sex, pregnancy, religion, national origin, ancestry, age, marital status, physical
disability, mental disability, medical condition, sexual orientation, or genetic information; retaliation;
violation of any federal, state or other governmental constitution, statute, ordinance, rule, or
regulation (as originally enacted and as amended), including but not limited to Title VII of the Civil
Rights Act of 1964 (“Title VII”), Age Discrimination in Employment Act of 1967 (“ADEA”), Americans
With Disabilities Act (“ADA”), Fair Labor Standards Act (“FLSA”), Employee Retirement Income
Security Act (“ERISA”), Consolidated Omnibus Budget Reconciliation Act (“COBRA”), Family and
Medical Leave Act (“FMLA”), and state and local government wage and hour, discrimination, leave,
and other laws of every type; unfair business practices; disclosure of confidential information or
trade secrets; pirating employees; and employee theft or conversion. As used herein, “Claims” does
not mean any dispute the arbitration of which is prohibited by law.
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5. Arbitration of Individual Claims Only.



5.1 Class and Collective Action Claims. BY SIGNING THIS AGREEMENT, THE PARTIES
AGREE THAT EACH MAY BRING AND PURSUE CLAIMS AGAINST THE OTHER ONLY IN HIS,
HER, OR ITS INDIVIDUAL CAPACITY, AND MAY NOT BRING, PURSUE, OR ACT AS A
PLAINTIFF OR CLASS MEMBER, IN ANY PURPORTED CLASS OR COLLECTIVE
PROCEEDING.



5.2 Representative Action Claims. THE PARTIES FURTHER AGREE THAT, EXCEPT FOR
ACTIONS BASED ON THE CALIFORNIA PRIVATE ATTORNEYS GENERAL ACT, LABOR CODE
SECTIONS 2698, ET SEQ., NEITHER PARTY MAY BRING, PURSUE, OR ACT AS A PLAINTIFF
OR REPRESENTATIVE IN ANY PURPORTED REPRESENTATIVE PROCEEDING OR ACTION,
INCLUDING ANY CLAIMS UNDER ANY FEDERAL, STATE, OR LOCAL LAW, OR OTHERWISE
PARTICIPATE IN ANY SUCH REPRESENTATIVE PROCEEDING OR ACTION OTHER THAN ON
AN INDIVIDUAL BASIS.



6. Starting Arbitration and Costs. Either party may initiate arbitration by delivering a written
request to arbitrate to the other party listing the Claim(s) to be arbitrated. Requests to Chipotle shall
be delivered to Chipotle Mexican Grill, Inc., 1401 Wynkoop Street, Suite 500, Denver, CO 80202,
Attn: Tim Spong, Executive Director of Safety, Security, and Risk, with a copy to Messner Reeves
LLP, 1430 Wynkoop Street, Suite 300, Denver, CO 80202, Attn: Bryant S. “Corky”
Messner. Requests to Employee shall be delivered to the last home address provided by the
Employee to Chipotle in writing. The arbitration shall take place in the county where Employee last
was employed by Chipotle.



7. Cost of Arbitration. Employee shall not be required to pay any cost or expense of the arbitration
that Employee would not be required to pay if the matter had been heard in court.



8. Arbitrator’s Authority. The arbitrator shall apply state and/or federal substantive law to
determine issues of liability and damages regarding all claims to be arbitrated. The arbitrator shall
have the authority to order such discovery by way of deposition, interrogatory, document production,
or otherwise, as the arbitrator considers necessary to a full and fair exploration of the issues in
dispute, consistent with the expedited nature of arbitration. The arbitrator is authorized to award any
remedy or relief that would have been available to the parties, in their individual capacity, had the
matter been heard in court. Other than the limitations contained in Section 5 above, nothing in this
Agreement shall prohibit or limit the parties from seeking provisional remedies, including, but not
limited to, injunctive relief from a court of competent jurisdiction. The arbitrator shall award
reasonable attorneys’ fees and costs to a party if such award is required by applicable law; if an
award of attorneys’ fees and costs is not required, the arbitrator shall have authority, subject to
applicable law, to award reasonable attorneys’ fees and costs in the arbitrator’s discretion. No
arbitrator shall have the authority to impose any limit on Chipotle’s discretion to discipline or
discharge any employee, except as otherwise provided by law. This Agreement shall not be
construed to deprive a party of a substantive right preserved by law.



9. Written Decision. The decision of the arbitrator shall be in writing and shall provide the reasons
for the arbitrator’s award, unless the parties otherwise agree in writing. THE ARBITRATOR’S
DECISION IS FINAL AND BINDING, WHICH MEANS THERE WILL BE NO TRIAL BY A JUDGE
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OR JURY OR APPEAL OF THE ARBITRATOR’S DECISION EXCEPT AS REQUIRED BY
APPLICABLE LAW.



10. Entire Agreement. This Agreement is the final, complete, and exclusive agreement between
the parties concerning how the parties will resolve disputes and Claims. The terms of this
Agreement supersede and control any prior agreements, oral discussions, and oral or written
communications among the Parties concerning how the parties will resolve disputes and
Claims. The original version of this Agreement is in the English language. Any discrepancy or
conflict between the English version and any other language version shall be resolved with
reference to and by interpreting the English version.



11. Severability. If any provision of this Agreement is determined to be illegal or unenforceable,
such determination shall not affect the balance of this Agreement, which shall remain in full force
and effect, and such invalid provision shall be deemed severable. BY SIGNING THIS
AGREEMENT, THE PARTIES HEREBY WAIVE THEIR RIGHT TO HAVE ANY CLAIM (AS
DEFINED ABOVE IN SECTION 4) DECIDED BY A JUDGE OR JURY IN A COURT.



12. At Will Employment Status. Once it begins, Employee’s employment with Chipotle will be at
will, meaning Employee’s employment may be terminated by Chipotle or the Employee without prior
notice at any time, without any procedure or formality, and for any reason or for no reason. Nothing
herein shall alter, and no arbitrator has authority to alter, the at will nature of Employee’s
employment.



13. Acknowledgement. EMPLOYEE ACKNOWLEDGES THAT EMPLOYEE HAS CAREFULLY
READ THIS AGREEMENT, THAT EMPLOYEE UNDERSTANDS ITS TERMS, AND THAT
EMPLOYEE HAS ENTERED INTO THIS AGREEMENT VOLUNTARILY AND NOT IN RELIANCE
ON ANY PROMISES OR REPRESENTATIONS BY CHIPOTLE OTHER THAN THOSE
CONTAINED IN THIS AGREEMENT.
